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 7                           UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                                 Case No. 2:10-CR-0176-KJD-PAL

12   v.                                                ORDER

13   JORDAN WILLIAMS,

14          Defendant.

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16          Before the Court for consideration is the Order and Report of Findings and Recommendation

17   (#68) of Magistrate Judge Peggy A. Leen entered November 15, 2010, recommending that

18   Defendant’s Motion to Suppress Evidence (#27) be granted in part and denied in part. Objections

19   (#70) to the Magistrate Judge’s Report and Recommendation were filed by Defendant Jordan

20   Williams pursuant to Local Rule IB 3-2 of the Local Rules of Practice of the United States District

21   Court of the District of Nevada. The Government filed a response (#78) to Defendant’s objections.

22   The United States also filed Objections (#69) to which Defendant responded (#73). The United

23   States also filed a Motion to Strike (#74) Defendant’s response. Defendant opposed (#77) the

24   motion to strike

25          The Court has conducted a de novo review of the record in this case in accordance with 28

26   U.S.C. § 636(b)(1) and LR IB 3-2. The Court determines that the Report and Recommendation
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 1   (#68) of the United States Magistrate Judge entered November 15, 2010, should be ADOPTED in

 2   part and AFFIRMED in part.

 3           The Court ADOPTS and AFFIRMS the Magistrate Judge’s recommendation that the motion

 4   be denied with respect to firearms, firearm accessories, and paperwork showing ownership or

 5   possession of these items and paperwork and other items tending to establish ownership, occupancy

 6   or a possessory interest in the searched premises. However, to the extent that the Magistrate Judge

 7   recommended that all other evidence be suppressed, the Court GRANTS Plaintiff’s objections to the

 8   suppression of the evidence found in plain sight, the cocaine and marijuana. See Coolidge v. N.H.,

 9   403 U.S. 443 (1971); U.S. v. Chester, 678 F.2d 1353 (9th Cir. 1982).

10           IT IS THEREFORE ORDERED that the Magistrate Judge’s Report of Findings and

11   Recommendation (#68) entered November 15, 2010, are ADOPTED in part and AFFIRMED in

12   part, and Defendant’s Motion to Suppress Evidence (#27) is GRANTED in part and DENIED in

13   part;

14           IT IS FURTHER ORDERED that the United States’ Motion to Strike (#74) is DENIED.

15           DATED this 3rd day of November 2010.

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                                                  Kent J. Dawson
19                                                United States District Judge

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